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lN THE UNITED STATES BANKRUPTCY COURT
FOR THE MIDDLE DISTRICT OF FLORIDA

TAMPA DlvlsioN
lN RE; cAsE No. 8:14-b1<-13668~KRM
ANTHONY WAYNE sTANsBERRY
JENNIFER LYNN sTANsBERRY

DEBTOR(s).

/

AFFIDAVIT OF COLLATERAL SURRENDER
(Pronertv Surrendered in Plan}

STATE OF FLORIDA
COUNTY OF PALM BEACH

BEFORE ME, the undersigned authority, personally appeared Muhammad Esa Ahmed, who
being first duly sworn, deposes and says:

l. l am counsel for Bank ofNew York Mellon, f/k/a The Banl< of New York, as trustee, on behalf
of the holders of the Alternative Loan Trust 2006-0Al7, Mortgage Pass Through Certit`icates
Series 2006-OA17, and its Successors and/or Assigns ("Secured Creditor") in the instant
bankruptcy case captioned above

2. l am making this affidavit in connection with and in support of the Motion for Reiief from
Stay filed on behalf of Secured Creditor.

3. l have read the Debtor's Chapter 13 Plan [D.E. # 4] and have personal knowledge that said
Plan proposes to surrender the subject property, located at 20113 Fair Hill Way, Tainpa, FL
33647, the legal description of Which is as follows:

LOT 88, BL()CK 6, GRAND HAMPTON PHASE IB-l, AS PER MAP ()R PLAT

THEREOF, RECORI)ED IN PLA'I` BOOK 100, PAGE lli ()F 'I`HE PUBLIC
RECORDS OF HILLSBOROUGH COUNTY, FLORIDA.

Propeity Address: 20113 Fair Hill Way, Tampa, FL 33647

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4. I have checked the PACER docket as of February 5, 2015 and there is no new or amended
Chapter 13 Plan or pleading filed with changes to Debtor's original Chapter l3 Plan

containing the proposal to surrender the aforementioned and identified real property.

ll

5 Affiant

»:§\ ______ Sworn to and sul()sciilj/d befoie me on EEBU § 2[|]5 by Muharnniad Esa Ahmed who is

‘\ as identification

 

§§ \\\ personaliy known to me b1 \pii

 

   

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